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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF OHIO
                                    EASTERN DIVISION


TELEBRANDS CORPORATION,                          )      CASE NO. 1:23-cv-00631-BMB
                                                 )
                 Plaintiff,                      )      JUDGE BRIDGET MEEHAN BRENNAN
          v.                                     )
                                                 )      DECLARATION OF
WINSTON PRODUCTS LLC,                            )      JEFFREY C. SINDELAR JR.
                                                 )      IN SUPPORT OF DEFENDANT WINSTON
                 Defendant.                      )      PRODUCTS LLC’S OPENING CLAIM
                                                 )      CONSTRUCTION BRIEF

          I, Jeffrey C. Sindelar Jr., hereby declare:

          1.     I am an attorney with Tucker Ellis LLP, counsel of record for Defendant Winston

Products LLC (“Winston”) in this action. I make this declaration based on my personal

knowledge and, if called as a witness, would testify competently concerning each of the

following facts.

          2.     Attached as Exhibit A to this declaration is a true and correct copy of U.S. Patent

No. 10,174,870 (“the ‘870 patent”).

          3.     Attached as Exhibit B to this declaration is a true and correct copy of U.S. Patent

No. 10,890,278 (“the ‘278 patent”).

          4.     Attached as Exhibit C to this declaration is a true and correct copy of U.S. Patent

No. 11,608,915 (“the ‘915 patent”).

          5.     Attached as Exhibit D to this declaration is table entitled “Summary of Disputed

Terms” that Winston has prepared and submits with its Opening Claim Construction Brief.

          6.     Attached as Exhibit E to this declaration is a table entitled “Disputed Terms

Highlighted” that Winston has prepared and submits with its Opening Claim Construction Brief.



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          7.    Attached as Exhibit F to this declaration is a table entitled “Disputed Terms and

Proposed Constructions” reflecting the parties’ proposed constructions for the Disputed Terms.

          8.    Attached as Exhibit G to this declaration is a table entitled “Agreed

Constructions” reflecting the parties’ agreed constructions of certain terms.

          9.    Attached as Exhibit H to this declaration is a true and correct copy of the

January 16, 2024, Rebuttal Expert Declaration of John M. Feland, III, Ph.D., with exhibits.

          10.   Attached as Exhibit I to this declaration is a true and correct copy of the

April 3, 2024, Supplement to Rebuttal Expert Declaration of John M. Feland, III, Ph.D., with

exhibits.

          11.   Attached as Exhibit J to this declaration is a true and correct copy of excerpts

from the Oxford Thesaurus of English (3d ed. 2009).

          12.   Attached as Exhibit K to this declaration is a true and correct copy of the

March 4, 2024, Sur-Rebuttal Declaration of Dr. James L. Glancey Regarding Claim

Construction, with exhibits.

          13.   Attached as Exhibit L to this declaration is a true and correct copy of excerpts

from the Color Oxford English Dictionary (3d ed. reissued 2011).

          14.   Attached as Exhibit M to this declaration is a true and correct copy of excerpts

from the Concise Oxford English Dictionary (2008).

          15.   Attached as Exhibit N to this declaration is a true and correct copy of excerpts

from The Oxford English Dictionary (2d ed. reprinted 1991).

          16.   Attached as Exhibit O to this declaration is a true and correct copy of transcript

excerpts from the April 3, 2024, Videotaped Expert Deposition of: James L. Glancey, Ph.D., P.E.



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          17.   Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury under the laws of

the United States of America that the foregoing is true and correct and that this declaration was

executed on April 23, 2024, in Broadview Heights, Ohio.




                                             s/Jeffrey C. Sindelar Jr.

                                             JEFFREY C. SINDELAR JR.




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